                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS

                                        )
CENTRO PRESENTE, et al.,                )
                                        )
                  Plaintiffs,           )   No. 1:18-cv-10340-DJC
v.                                      )
                                        )
DONALD J. TRUMP, et al.,                )
                                        )
                  Defendants.           )




      PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF MOTION
     TO COMPEL RESPONSES TO WHITE HOUSE DISCOVERY REQUESTS
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        Plaintiffs Centro Presente, et al. (“Plaintiffs”) submit this Memorandum of Law in

Support of their Motion to Compel Defendants United States Department of Homeland Security

(“DHS”), Donald J. Trump, President of the United States in his official capacity (“President

Trump”), DHS Secretary Kirstjen Nielsen (“Secretary Nielsen”), and DHS Deputy Secretary

Elaine Costanzo Duke (“Deputy Secretary Duke,” and together with DHS, President Trump, and

Secretary Nielsen, the “Defendants”), to respond to Plaintiffs’ discovery requests. In particular,

Plaintiffs seek an order compelling President Trump and his agents within the White House to

respond to document requests and a Rule 30(b)(6) deposition notice.

        Plaintiffs allege that Defendants’ terminations of Temporary Protected Status (“TPS”)

designations for El Salvador, Haiti, and Honduras violate the Administrative Procedure Act, the

TPS statute, and the Equal Protection and Due Process guarantees in the Constitution. As this

Court has recognized, the conduct of President Trump and other White House officials is at the

center of each of these violations: “Plaintiffs allege that Defendants violated their rights . . . by

adopting an unreasoned change in policy regarding the applicable standard for TPS designations

that was motivated by unlawful animus . . . .” Mem. & Order 25, ECF 47; see also Am. Compl.

¶ 155, ECF 21 (“Upon learning that 15,000 Haitian people had received such visas, President

Trump is reported to have stated they ‘all have AIDS.’”); id. at ¶ 160 (“[President Trump]

specifically derided individuals from terminated TPS nations, asking: ‘Why are we having all

these people from shithole countries come here?’”).

        Plaintiffs therefore have promulgated specific, targeted document requests and Rule

30(b)(6) deposition topics seeking information about the relevant communications by President

Trump and certain other White House officials. These requests, which are copied below, seek

discrete categories of documents and information concerning specific events leading up to and



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concerning the TPS terminations, including: conversations between officials at the White House

and officials at DHS charged with making TPS determinations; meetings at the White House

where TPS was discussed; and directives and proposals issued by the White House concerning

TPS. See infra at 3-4. This discovery is directly relevant to Plaintiffs’ constitutional and statutory

claims and not available from any other source. To date, however, Defendants have flatly

rebuffed each request, asserting only generalized objections of presidential communications

privilege, deliberative process privilege, and burden. Defendants have not searched for

responsive documents and have stated that they will not do so in the future.

       Defendants cannot be permitted to advance absolute and unsubstantiated privilege claims.

Neither of the privileges (which have not even been formally asserted) apply in this context.

Even if they do, Plaintiffs’ need for the discovery and the public’s interest in honest, effective

government supersede any interest in withholding relevant information. Plaintiffs therefore

respectfully request that the Court compel Defendants, in particular President Trump and his

agents in the White House, to respond to Plaintiffs’ discovery requests. Specifically, Defendants

should, within fourteen days of the Court’s order, (i) collect all responsive documents and

information, (ii) produce all non-privileged documents, and (iii) log all withheld documents with

specific references to the privilege(s) that purportedly apply to facilitate further evaluation of

Defendants’ assertions. In addition, Defendants’ should identify their Rule 30(b)(6) designee(s)

or lodge specific objections to the topics included in Plaintiffs’ Rule 30(b)(6) notice.

                                         BACKGROUND

       Plaintiffs initiated this Action on February 22, 2018 and filed the First Amended

Complaint on May 9, 2018. Plaintiffs allege Defendants terminated TPS for each of El Salvador,

Haiti, and Honduras in violation of the Equal Protection and Due Process guarantees of the



                                                 -2-
Constitution, the substantive and procedural requirements of the Administrative Procedure Act

(the “APA”), and the requirements of the TPS statute itself. Am. Compl. ¶¶ 257-286, ECF 21.

         On July 23, 2018, the Court largely denied Defendants’ motion to dismiss the Amended

Complaint, finding that Plaintiffs had pleaded plausible allegations that Defendants had adopted

a novel, restrictive policy to administer the TPS statute, and that discriminatory animus

represented by President Trump’s statements may have motivated the TPS terminations. Mem. &

Order 30-35, ECF 47. The opinion noted in particular that it was plausible that President

Trump’s statements “played a role” in the decisions, notwithstanding that Deputy Secretary

Duke and Secretary Nielsen were charged with the exclusive statutory authority to extend or

terminate TPS. See id. at 34-35.

         On September 18, 2018, Plaintiffs served Defendants with their First Set of Requests for

Production of Documents. O’Keefe Decl., Ex. 1.1 These requests include the following:

         Request for Production No. 5: Any and all communications, including any notes to file or
         any written memorialization, since November 8, 2016, between or on behalf of, on the
         one hand, the secretary, deputy secretary, director, deputy director, commissioner, deputy
         commissioner, chief of staff, or director of legislative affairs (as to all such positions,
         whether acting or appointed) of DHS, U.S. Immigration & Customs Enforcement, U.S.
         Citizenship & Immigration Services, U.S. Custom[s] & Border Protection, and the U.S.
         Department of State, and, on the other hand, Defendant Trump, his chief of staff,
         members of the Office of White House Policy, or any other policy advisers (or
         representatives) regarding whether to extend or terminate the TPS designations for El
         Salvador, Haiti, and Honduras and the TPS program generally.
         Request for Production No. 13: All documents concerning White House Chief of Staff
         John Kelly and former White House Homeland Security Advisor Tom Bossert’s
         communications with Former Acting Secretary Duke regarding extensions and/or
         terminations of TPS designations during the period from October 2017 through
         November 2017, including any notes to file or any written memorialization of such
         communications.
         Request for Production No. 22: Produce all documents pertaining to the January 11, 2018
         meeting during which Defendant Trump [was] reported to have said “all these people

1
 Citations in the format “O’Keefe Decl. __” shall refer to the respectively numbered paragraphs in, or exhibits
attached to, the Declaration of Kevin O’Keefe in Support of Plaintiffs’ Motion to Compel, filed herewith.

                                                        -3-
       from shithole countries” and “Why do we need more Haitians?” This request includes,
       but is not limited to, any memoranda, agendas, or reports prepared in anticipation of the
       meeting, as well as any memoranda or reports summarizing or memorializing the
       meeting.
       Request for Production No. 23: Produce all documents pertaining to the June 2017 Oval
       Office meeting with Defendant Trump, then-Homeland Security Secretary Kelly and
       then-Secretary of State Tillerson, during which Defendant Trump is reported to have said
       “all [Haitians] have AIDS.” This request includes, but is not limited to, any memoranda,
       agendas, or reports prepared in anticipation of the meeting, as well as any memoranda or
       reports summarizing or memorializing the meeting.
       Request for Production No. 24: Produce any communication between Defendant Trump
       or personnel within the Office of White House Policy and Members of Congress or their
       staff regarding DHS’ decision to extend or terminate TPS for El Salvador, Haiti, or
       Honduras.
       Request for Production No. 27: Any and all communications, including any notes to files
       or any written memorialization of communications, since November 8, 2016, between or
       on behalf of, on the one hand, former-DHS Secretary and current-White House Chief of
       Staff, John Kelly (or his staff or representatives) and, on the other hand, Defendant
       Trump, his chief of staff, or his policy advisors (or representatives), regarding the TPS
       program.
       Request for Production No. 30: Any and all communications concerning the proposal to
       simultaneously terminate the TPS designations for El Salvador, Haiti, Honduras, and
       Nicaragua discussed in the Principals Small Group Meeting on November 3, 2017.
       Request for Production No. 31: Any and all reports, memoranda, or agendas, including
       interim drafts and communications related thereto, pertaining to the proposal to
       simultaneously terminate the TPS designations for El Salvador, Haiti, Honduras, and
       Nicaragua discussed in the Principals Small Group Meeting on November 3, 2017.

       Additionally, on September 18, 2018, Plaintiffs served a notice pursuant to Fed. R. Civ.

P. 30(b)(6) to depose a representative of President Trump’s Office of White House Policy to

testify about specified topics relating to the termination of TPS. O’Keefe Decl., Ex. 2.

       Prior to issuing formal written responses, Defendants sent a letter outlining general and

categorical objections to Plaintiffs’ Discovery Requests on September 28, 2018. O’Keefe Decl.,

Ex. 3. On October 10, 2018, the parties engaged in a telephonic meet-and-confer in an attempt to

address Defendants’ concerns. O’Keefe Decl. ¶ 9(a). On October 11, 2018, Plaintiffs sent a letter

indicating their willingness to avoid “unnecessary expense and undue burden” but noting that


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there was “no legal or factual justification for a categorical exclusion of [President] Trump and

the White House from discovery.” O’Keefe Decl., Ex. 4. On October 18, 2018, Defendants

provided formal objections to Plaintiffs’ Discovery Requests, broadly objecting to the Requests

“insofar as Plaintiffs purport to seek discovery from President Trump or other White House

custodians” as “[a]ny such discovery is not proportional to the needs of this case, given that

Plaintiffs’ claims challenge TPS determinations by the Secretary of Homeland Security, the

official who is statutorily charged with making such determination.” O’Keefe Decl., Ex. 5.

Defendants have maintained at every step in this litigation that President Trump and personnel in

the White House had no material influence on the TPS terminations at issue. See infra Part I.

       Defendants’ lodged similar boilerplate objections to each of the Discovery Requests at

issue. Below is a quoted example:

       Objections to Request for Production No. 5 (emphasis added):

               1.       Defendants incorporate by reference the above General Objections.
               Objections to Introductory Material, Objections to Definitions, and
               Objections to Instructions.
               2.       Defendants object to this RFP as overly broad, unduly burdensome,
               and disproportional to the needs of this case, particularly taking into account
               that challenges to administrative agency action are ordinarily reviewed in
               light of the administrative record rather than a new record created in
               litigation.
               3.       Defendants object to this RFP, as it appears to seek paradigmatically
               deliberative and thus privileged material.
               4.       Defendants object to this RFP, as it appears to seek material protected
               by the presidential communications privilege.
               5.       Defendants object to this RFP to the extent it would require
               Defendants to conduct searches of custodians at the White House or at
               components of DHS that do not play a material role in the TPS
               decisionmaking process (such as U.S. Customs and Border Protection or U.S.
               Immigration and Customs Enforcement). Defendants further object to the
               extent the RFP would require Defendants to conduct searches of records held
               by custodians at the State Department, as the State Department is neither a
               named defendant nor identified in Plaintiffs’ Definitions and Instructions as a
               responding entity.



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                    6.       Defendants object to the use of the undefined phrase “the TPS
                    program generally,” as vague and ambiguous. Defendants specifically object
                    to this language to the extent it could be read to request documents pertaining
                    to TPS determinations that Plaintiffs have not challenged in this litigation.
                    7.       Defendants object to this RFP to the extent it seeks documents that
                    postdate the May 4, 2018, announcement of the termination of TPS for
                    Honduras, the latest-in-time TPS decision challenged in this lawsuit.
                    Defendants will conduct an appropriate search for documents dated between
                    November 8, 2016, and May 4, 2018.
                    8.       Subject to and without waiving any of the foregoing, Defendants
                    expect to produce non-privileged material responsive to this RFP, on a
                    rolling basis.2

           Plaintiffs responded to Defendants’ formal Responses and Objections on November 13,

2018, reiterating that any categorical exclusions were unjustified and requesting that Defendants

advise whether they would undertake any collection efforts. O’Keefe Decl., Ex. 6. The parties

engaged in a further telephonic conference on November 16, 2018. O’Keefe Decl. ¶ 9(b). On

November 30, 2018, Plaintiffs reiterated their requests and provided further detail as to why each

request was proportional, narrowly targeted, and did not implicate privilege concerns. O’Keefe

Decl., Ex. 6. The parties engaged in a final meet-and-confer on February 7, 2019, after which

Defendants indicated that no compromise could be reached. O’Keefe Decl., Ex 7.

                                                    ARGUMENT

           Plaintiffs allege that the TPS terminations for El Salvador, Haiti, and Honduras were

procedurally invalid and were motivated by impermissible racial animus. The Complaint

includes particularized allegations and seeks to vindicate important constitutional rights. In

denying Defendants’ motion to dismiss, the Court ruled that Plaintiffs have advanced sufficient

factual allegations of unlawful motive. Plaintiffs are therefore entitled to seek discovery and

should be permitted to ascertain (i) which federal officials participated in the conduct underlying

Plaintiffs’ claims, (ii) why they did so, and (iii) how. See Clinton v. Jones, 520 U.S. 681, 703

2
    Defendants’ objections and responses to the Discovery Requests are set forth in full at O’Keefe Decl., Ex. 5.

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(1997) (“[W]e have long held that when the President takes official action, the Court has the

authority to determine whether he has acted within the law.”). Defendants, however, have

refused to engage in discovery with respect to President Trump, standing on general claims of

presidential communications privilege, deliberative process privilege,3 and undue burden. None

of these assertions preclude the requested discovery from President Trump and his agents.

         First, Defendants cannot assert that the information sought in the Discovery Requests is

subject to the presidential communications privilege while simultaneously asserting that

President Trump and his agents in the White House were not materially involved in the decisions

at issue. Second, even if the presidential communications privilege applied, Plaintiffs have a

substantial need for the discovery which is not available from other sources, therefore

superseding any privilege claim. Third, the deliberative process privilege does not apply at all

where, as here, Plaintiffs allege misconduct in the government’s decisionmaking process.

Finally, Defendants’ rote invocation of undue burden is insufficient to sustain their objection.

I.       DEFENDANTS’ PRESIDENTIAL COMMUNICATIONS PRIVILEGE CLAIMS
         ARE UNFOUNDED AS A MATTER OF LAW BECAUSE THE TPS STATUTE
         DOES NOT CALL FOR DIRECT DECISIONMAKING BY THE PRESIDENT

         “The presidential communications privilege should never serve as a means of shielding

information regarding governmental operations that do not call ultimately for direct

decisionmaking by the President.” In re Sealed Case, 121 F.3d 729, 752 (D.C. Cir. 1997)

(emphasis added). The sole purpose of this “rarely . . . invoked” privilege is to “guarantee the

candor of presidential advisers and to provide a President ‘and those who assist him . . . [with]

freedom to explore alternatives in the process of shaping policies and making decisions and to do


3
 As discussed infra, the presidential communications privilege and the deliberative process privilege are “closely
affiliated . . . [but] are distinct and have different scopes.” In re Sealed Case, 121 F.3d 729, 745 (D.C. Cir. 1997).
“Both are executive privileges designed to protect executive branch decisionmaking, but one applies to
decisionmaking of executive officials generally, the other specifically to decisionmaking of the President.” Id.

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so in a way many would be unwilling to express except privately.’” Id. at 738, 743 (quoting

United States v. Nixon, 418 U.S. 683, 708 (1974)). In order for the privilege to apply, the

material at issue must: (i) “reflect presidential decisionmaking,” and (ii) be “authored or solicited

and received” by the President or members of his immediate White House staff. Id. at 744, 752.

        The exclusive statutory authority to extend or terminate TPS rests with Deputy Secretary

Duke and Secretary Nielsen. See 8 U.S.C. § 1254a; see also Mem. & Order 4-5, ECF 47.

Therefore the presidential communications privilege cannot apply.

        Moreover, Defendants have asserted unequivocally throughout this litigation that

President Trump and other White House officials were not involved in the decisions to terminate

TPS. See, e.g., Defs.’ Mot. to Dismiss Br. 21, 27, ECF 25; Defs.’ Reply in Support of Mot. to

Dismiss 8, ECF 40; Answer ¶¶ 173, 224, ECF 49; O’Keefe Decl., Ex. 3 at 2-3, Ex. 5 at 3-4. If

this were true, it would follow that the presidential communications privilege could not attach to

materials responsive to the Discovery Requests. Defendants cannot have it both ways.4

II.     EVEN IF THE PRESIDENTIAL COMMUNICATIONS PRIVILEGE COULD
        APPLY, PLAINTIFFS’ NEED FOR RESPONSIVE INFORMATION
        OVERCOMES DEFENDANTS’ CLAIM OF PRIVILEGE

        The President may only invoke the presidential communications privilege when “asked to

produce documents or other materials that reflect presidential decisionmaking and deliberations

and that the President believes should remain confidential.” Sealed Case, 121 F.3d at 744. This

privilege is not absolute and cannot stand when the President asserts only a generalized interest

in confidentiality. See United States v. Nixon, 418 U.S. 683, 706 (1974); Dellums v. Powell, 561

F.2d 242, 245 (D.C. Cir. 1977); Sun Oil Co. v. United States, 514 F.2d 1020, 1024 (Ct. Cl.

1975). Indeed, even a formal invocation of the privilege “has been consistently viewed as
4
 As set forth infra Part II.B, the discovery reviewed to date tends to refute Defendants’ version of events.
Nonetheless, given Defendants’ litigation position with respect to President Trump’s involvement, Defendants
cannot sustain the assertion of privilege.

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presumptive only.” Dellums, 561 F.2d at 246 (citations omitted). Defendants have not yet

offered an affidavit formally invoking the presidential communications privilege.

         The requesting party may overcome this presumption with a sufficient showing of need

for the materials. See id.; see also Nixon, 418 U.S. at 706; Sealed Case, 121 F.3d at 754. This

standard has two components. Sealed Case, 121 F.3d at 754. First, the requesting party must

show that the evidence sought is “directly relevant” to issues central to the case. Id. This is not an

exacting requirement. The court focuses solely on the relevance of the contested material at the

discovery stage, and not on the merits of claims or defenses asserted. See In re Grand Jury

Proceedings, 5 F. Supp. 2d 21, 28 (D.D.C. 1998) (“The information sought need not be critical

to an accurate judicial determination.”) (internal quotation marks omitted).5 Second, the court

must assess whether the evidence is available through other means. See Sealed Case, 121 F.3d at

754. “If a court believes an adequate showing of need has been demonstrated, it should then

proceed to review the documents in camera to excise non-relevant materials.” Id. at 745.

         A.       Discovery Pertaining to President Trump’s Racial Animus, and its Effect on
                  the TPS Decisionmaking Process, Is Directly Relevant to Plaintiffs’
                  Constitutional Claims.

         Plaintiffs allege that President Trump’s racial animus impermissibly permeated the TPS

decisionmaking process in violation of Plaintiffs’ constitutional rights. Am. Compl. ¶¶ 1, 6, 239-

5
  Defendants assert that “exacting standards” of relevancy, admissibility, and specificity, as purportedly adopted in
Cheney v. U.S. Dist. Court, 542 U.S. 367 (2004), must be met for a party to overcome the presidential
communications privilege. O’Keefe Decl., Ex. 3 at 3. Defendants’ reading of Cheney is incorrect. Cheney cautions
against overly broad discovery requests propounded on the White House but does not otherwise alter the standard
set forth in Sealed Case to evaluate the presidential communications privilege. Rather, the central issue in Cheney
was “whether the Court of Appeals was correct to conclude it had no authority to exercise the extraordinary remedy
of mandamus, on the ground that the Government could protect its rights by asserting executive privilege in the
District Court.” 542 U.S. at 380. Trial courts evaluating this exact issue have confirmed that “the Court in Cheney
. . . did not adopt a particular test for use in civil case discovery disputes.” Dairyland Power Coop. v. United States,
79 Fed. Cl. 659, 665 (2007); accord Karnoski v. Trump, No. C17-1297-MJP, 2018 U.S. Dist. LEXIS 140986, at *6-
8 (W.D. Wash. Aug. 20, 2018). Instead, courts have employed the standard set forth in Sealed Case. Id. at *9-10; see
also Dairyland, 79 Fed. Cl. at 667 (“After comparing Nixon, Sealed Case, and Cheney . . . , this Court concludes
that the Sealed Case test comes closest to what the Supreme Court was concerned about in Cheney.”); accord U.S.
Dep’t of Treasury v. Black, 719 F. App’x 1, 2-3 (D.C. Cir. 2017) (applying Sealed Case to evaluate privilege claim).

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42, ECF 21. “Courts have repeatedly held . . . that ‘liability for discrimination will lie when a

biased individual manipulates a non-biased decision-maker into taking discriminatory action.’”

Mem. & Order 34, ECF 47 (quoting Batalla Vidal v. Nielsen, 291 F. Supp. 3d 260, 279

(E.D.N.Y. 2018)). Evidence as to whether President Trump harbored racial animus—and

simultaneously exerted influence over DHS officials, either through his own actions or through

White House personnel, to sway the TPS decisionmaking process—is therefore directly relevant.

Dellums, 561 F.2d at 248 (“The Court can scarcely imagine what could be more relevant to the

grave allegations in the present case than the actual words of those alleged to have [acted

unlawfully].”). Courts have recognized this in parallel cases addressing terminations of TPS. See

Ramos v. Nielsen, 336 F. Supp. 3d 1075, 1098 (N.D. Cal. 2018) (granting preliminary injunction

where evidence supports merits of plaintiffs’ Equal Protection and APA claims); Casa de

Maryland, Inc. v. Trump, No. GJH-18-845, 2018 U.S. Dist. LEXIS 201060, at *33 (D. Md. Nov.

28, 2018) (“[Plaintiffs] allege that animus on the basis of race, color, and ethnicity was a

motivating factor in the Secretary's decision to terminate El Salvador's TPS and have offered

sufficient evidence to make their Equal Protection claims plausible.” (internal citations omitted)).

       This Court has already held that Plaintiffs’ allegations, including those “statements of

animus by people plausibly alleged to be involved in the decision-making process,” were

sufficient to state Equal Protection and Due Process claims under the Arlington Heights standard.

Mem. & Order 35, ECF 47. In doing so, this Court specifically referenced several statements

made by President Trump that plausibly demonstrated bias and prejudice against immigrants of

color, and particularly Latino and Haitian immigrants. Id. at 10-11, 34-35 (summarizing

President Trump’s statements made on the campaign trail and after assuming office). In

circumstances like these, courts recognize the “strong constitutional value” in disclosure of



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material when the information sought may help to prove a substantial violation of fundamental

constitutional rights, and there is sufficient evidence to preclude an inference of harassment of

the defendant. See Dellums, 561 F.2d at 247. Plaintiffs’ Discovery Requests are narrowly

targeted to seek directly relevant testimony and documents concerning: (i) communications

between the White House (on the one hand) and the agency officials who are charged with

administering TPS (on the other hand); (ii) White House meetings in which TPS was discussed;

and (iii) directives, proposals, and policies about TPS.

       In a case presenting a similar claim of privilege, the court held that the defendants should

produce documents concerning the plaintiffs’ application for an oil drilling permit. Documents

exchanged between presidential aides and the President were relevant because they could help

“to prove that the President or someone on his White House staff turned their application down

and did so for impermissible, extraneous, political, or other reasons . . . .” Sun Oil, 514 F.2d at

1025; see id. (“[A] generalized claim of privilege . . . cannot prevail against the plaintiffs’ need

to develop the facts by resort to discovery.”). As in Sun Oil, Defendants’ generalized assertions

of privilege should not prevail over Plaintiffs’ need to develop facts through discovery.

       B.      President Trump and the White House Were Involved in the TPS Decisions,
               and Discovery About Their Involvement Is Highly Relevant to Plaintiffs’
               Statutory Claims.

       Defendants have asserted from the outset of this action that, by law, “the decision

whether to designate any foreign state for TPS is vested in the judgment of the Secretary” of

DHS, not President Trump or other executive officials. Defs.’ Mot. to Dismiss Br. 22, ECF 25.

The law requires that TPS decisions be based solely on expressly enumerated factors relating to

conditions in countries receiving TPS status, see 8 U.S.C. § 1254a(b), and not based on political

objectives, or in furtherance of unconstitutional animus. Plaintiffs have advanced specific

allegations that President Trump and other White House officials were involved in the TPS
                                                - 11 -
decisions to advance a political agenda, in violation of the statute. See Mem. & Order 35,

ECF 47. The discovery received to date has borne this out.

       For example, contemporaneous correspondence appears to confirm Plaintiffs’ allegations

that, on November 6, 2017, White House Homeland Security Adviser Tom Bossert and Chief of

Staff John Kelly made repeated phone calls to Deputy Secretary Duke to pressure her to

terminate Honduras’ TPS designation. Mem. & Order 35, ECF 47; Am. Compl. ¶ 223, ECF 21.

On September 7, 2017, a member of President Trump’s National Security Council, Scott

Oudkrik, emailed DHS staff expressing surprise that Deputy Secretary Duke had terminated TPS

for Sudan and extended TPS for South Sudan, noting that it was “counter to what we discussed a

few weeks ago.” O’Keefe Decl., Ex. 8. On October 10, 2017, a member of President Trump’s

Domestic Policy Council, John Zadrozny, pressed staff at DHS for a briefing on TPS and

“upcoming decision points.” O’Keefe Decl., Ex. 9. On January 4, 2018, Mr. Zadrozny sought

confirmation from Secretary Nielsen’s chief of staff that she would be making her TPS

determination concerning El Salvador the following day. O’Keefe Decl., Ex. 10.

       Most significantly, on November 3, 2017, members of President Trump’s National

Security Council convened a Principals Small Group Meeting at the White House—prior to the

announcement of any of the TPS terminations at issue here—to discuss plans to terminate TPS

designations for each of El Salvador, Honduras, Nicaragua, and Haiti. See O’Keefe Decl.,

Ex. 11. Attendees at the Small Group Meeting included President Trump’s Chief of Staff and

Press Secretary, Secretary Nielsen (at the time, President Trump’s Principal Deputy Chief of

Staff), representatives of DHS and the State Department, and other White House staff. Id.

       At least one court has found, on a preliminary basis, that this evidence supports the

conclusion that the White House influenced the TPS decisionmaking process to reach a pre-



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ordained result. See Ramos, 336 F. Supp. 3d at 1080-81; id. at 1098-1100 (citing evidence of

White House involvement). Evidence on this topic is directly relevant to Plaintiffs’ allegations

that Defendants broke with decades of practice to adopt a novel, and more restrictive, TPS

enforcement policy in violation of the APA and the TPS statute itself.

         C.       Discovery on These Issues Cannot Be Obtained Elsewhere.

         Presidential communications are not entitled to absolute immunity from disclosure. These

documents should be produced where the plaintiffs demonstrate a need for them, and where they

are not available from other sources. See supra at 9. Discovery produced to date and publicly

available information confirm the White House was involved in the TPS process. The full extent

of that involvement can be demonstrated only by taking discovery from the White House and the

officials involved. See, e.g., Grand Jury, 5 F. Supp. 2d at 29 (discovery not available from other

sources where “the only sources of that testimony are those persons participating in the

conversations”); Dairyland, 79 Fed. Cl. at 668, (“[I]t is the documents themselves, authored by

Government officials, rather than only the factual information in the documents, that makes them

uniquely important and certainly not obtainable elsewhere.”).

         Five of Plaintiffs’ Discovery Requests specifically address in-person conversations that

occurred at the White House or involved White House personnel. See supra at 3-4.6 Discovery

from these people will tend to prove Plaintiffs’ allegations. The documents and testimony cannot

be obtained elsewhere, and therefore should be produced by Defendants.




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  Records of these in-person communications are not only discoverable; they should be included within the
administrative record. Mont. Fish, Wildlife, & Parks Found., Inc. v. United States, 91 Fed. Cl. 434, 445-46 (2010)
(“Information . . . acquired, even if by informal means such as oral conversations, which was available at the time
the decision was made . . . , should be reflected in the administrative record.”) (citing Citizens to Preserve Overton
Park v. Volpe, 401 U.S. 402, 420 (1971)).

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III.   DEFENDANTS’ GENERALIZED ASSERTIONS ARE NOT SUFFICIENT TO
       SUSTAIN THEIR CLAIMS OF DELIBERATIVE PROCESS PRIVILEGE

       Defendants asserted both the presidential communications and the deliberative process

privileges in response to the Discovery Requests. As discussed supra Part II, Plaintiffs’ need

supersedes any claim of presidential communications privilege, and therefore Plaintiffs’ need

also supersedes any claim of deliberative process privilege. Sealed Case, 121 F.3d at 746.

       The First Circuit has explained the deliberative process privilege as follows:

               [T]he deliberative process privilege is a discretionary one. In
               deciding how to exercise its discretion, an inquiring court should
               consider, among other things, the interest of the litigants, society’s
               interest in the accuracy and integrity of factfinding, and the
               public’s interest in honest, effective government. Consequently,
               where the documents sought may shed light on alleged government
               malfeasance, the privilege is routinely denied.

Texaco P.R., Inc. v. Dep’t of Consumer Affairs, 60 F.3d 867, 885 (1st Cir. 1995) (internal

quotations and citations omitted). Further, the deliberative process privilege is a qualified

privilege that “is to be applied ‘as narrowly as consistent with efficient Government operation.’”

Coastal States Gas Corp. v. Dep’t of Energy, 617 F.2d 854, 868 (D.C. Cir. 1980) (describing

scope of parallel exemption under Freedom of Information Act and emphasizing “the strong

policy . . . that the public is entitled to know what its government is doing and why”).

       First, in order to state a proper assertion of the deliberative process privilege, Defendants

carry the burden of establishing that the withheld inter- or intra- governmental communication is

“(1) predecisional, that is, antecedent to the adoption of agency policy, and (2) deliberative, that

is, actually related to the process by which policies are formulated.” Texaco P.R., 60 F.3d at 884-

85 (internal quotations omitted). The privilege does not apply to communications that are purely

factual, or merely set out agency policy. United States v. Zhen Zhou Wu, No. 08-10386-PBS,

2010 U.S. Dist. LEXIS 18405, at *4 (D. Mass. Mar. 2, 2010) (“Put another way, a document is


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deliberative if it constitutes a statement of opinion regarding final policy rather than a description

of the ultimate policy itself.”). Moreover, the privilege does not protect entire documents; “if the

government can segregate and disclose non-privileged factual information within a document, it

must.” Loving v. Dep’t of Defense, 550 F.3d 32, 38 (D.C. Cir 2008). For these fundamental

reasons, Defendants’ generalized assertions do not suffice to assert the privilege.7 See In re

McKesson, 264 F.R.D. 595, 599 (N.D. Cal. 2009) (finding “initial blanket assertion of the

deliberative process privilege was clearly insufficient”); see also United States v. O’Neill, 619

F.2d 222, 227 (3d Cir. 1980) (“The indiscriminate claim of privilege may in itself be sufficient

reason to deny it.”).

         Then, if the Government is able to establish (via a detailed log or in camera review) that

the withheld documents are both predecisional and deliberative, the court must balance whether

the interests of disclosure—namely, the litigants’ interests in the present lawsuit and society’s

interest in effective judicial factfinding and legitimate governance—outweigh the Government’s

reasons for confidentiality. Texaco P.R., 60 F.3d at 885. Courts consider, inter alia, the following

factors from In re Franklin Nat’l Bank Sec. Litig. when making this determination: “(i) the

relevance of the evidence sought to be protected; (ii) the availability of other evidence; (iii) the

‘seriousness’ of the litigation and the issues involved; (iv) the role of the government in the

litigation; and (v) the possibility of future timidity by government employees.” 478 F. Supp. 577,

583 (E.D.N.Y. 1979); see, e.g., Schreiber v. Soc’y for Sav. Bancorp, 11 F.3d 217, 220-21

(D.D.C. 1993); Zhen Zhou Wu, 2010 U.S. Dist. LEXIS 18405 at *6. Plaintiffs here, like the TPS

7
  “Before the deliberative process privilege may be invoked, ‘there must be a formal claim of privilege, lodged by
the head of the department which has control over the matter after actual consideration by that officer.’” United
States v. Salemme, No. 94-10287-MLW, 1997 U.S. Dist. LEXIS 20987, at *21 n.6 (D. Mass. Dec. 29, 1997)
(internal quotations omitted); see also Landry v. F.D.I.C., 204 F.3d 1125, 1135 (D.C. Cir. 2000); Doe v. District of
Columbia, 230 F.R.D. 47, 51 (D.D.C. 2005) (“To properly assert the deliberative process privilege, defendant must
establish a formal, considered, detailed claim of privilege.”) (internal citations omitted). Defendants have yet to
formally invoke the privilege on behalf of President Trump.

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beneficiary-plaintiffs in the parallel litigation Ramos v. Nielsen, have shown that these factors

favor disclosure. Order re Jt. Ltr. Brief 3-4, Ramos v. Nielsen, No. 18-cv-01554-EMC (SK)

(N.D. Cal. Aug. 10, 2018), No. 18-cv-01554-EMC, ECF 63 (“Ramos Order”)8 (citing

comparable factors in FTC v. Warner Comm’n, Inc., 742 F.2d 1156, 1161 (9th Cir. 1988) and N.

Pacifica LLC v. City of Pacifica, 274 F. Supp. 2d 1118, 1122 (N.D. Cal. 2003)).

           A.       The Deliberative Process Privilege Does Not Apply Where, as Here,
                    Government Misconduct and Government Intent Are at Issue.

           The privilege does not apply at all where the withheld documents may shed light on

government misconduct. Texaco P.R., 60 F.3d at 885. “Simply put, when there is reason to

believe that government misconduct has occurred, the deliberative process privilege

disappears[;] . . . there is no need to engage in a balancing test because the privilege does not

apply at all.” Tri-State Hosp. Supply Corp. v. United States, 226 F.R.D. 118, 135 (D.D.C. 2005).

“[S]hielding internal government deliberations in this context does not serve the public’s interest

in honest, effective government.” Sealed Case, 121 F.3d at 738 (citing Texaco P.R., 60 F.3d at

885).

           Plaintiffs have alleged a prima facie case of impermissible racial animus and of improper

influence by the White House in the decisions to terminate TPS. See Mem. & Order 34-35,

ECF 47. These allegations demonstrate egregious government misconduct, and the thrust of

Plaintiffs’ Discovery Requests is to uncover evidence of such motivation that is likely to evade

an administrative record. See, e.g., O’Keefe Decl., Ex. 1 at RFP 13 (seeking documents

concerning the call(s) in November 2017 when White House officers allegedly pressured Deputy

Secretary Duke to terminate TPS for Honduras). As discussed above, Plaintiffs have shown

through evidence of meetings and phone calls between the White House and DHS, as well as the

8
    The Ramos Order is attached as Exhibit 12 to the O’Keefe Declaration.

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President’s racially charged statements, that such direct evidence is likely to exist. See supra Part

II.A,B. In such cases, the deliberative process privilege does not apply. Karnoski v. Trump, 328

F. Supp. 3d 1156, 1161-62 (W.D. Wash. 2018) (overruling privilege in case challenging

improper motive to ban transgender military servicemembers); Tri-State Hosp. Supply Corp.,

226 F.R.D. at 135-36 (D.D.C. 2005) (“Since the government's alleged misconduct in making

these determinations is the basis of this lawsuit, the deliberative process privilege may yield.”).

             Nor does the privilege apply where the government’s intent is at issue. See, e.g., In re

Subpoena Duces Tecum Served on Office of Comptroller of Currency, 145 F.3d 1422, 1424

(D.C. Cir. 1998), aff’d on reh’g, 156 F.3d 1279 (D.C. Cir. 1998). The government’s

decisionmaking and intent are implicated here, and Plaintiffs have shown that the documents

sought are likely to shed light on Defendants’ improper influence over and motive behind the

TPS terminations. See supra Part II; Mem. & Order 35-36, ECF 47. “[W]here, as here, the

‘decision-making process itself is the subject of the litigation,’ it is inappropriate to allow the

deliberative process privilege to preclude discovery . . . .” Velazquez v. City of Chicopee, 226

F.R.D. 31, 34 (D. Mass. 2004). Courts do not allow the government to use the privilege as a

“shield” when the government’s decisionmaking is the fulcrum of the case. See In re Subpoena,

145 F.3d at 1424; United States v. Lake Cty. Bd. of Comm’rs, 233 F.R.D. 523, 526 (N.D. Ind.

2005) (“[T]he deliberative process privilege simply does not apply in civil rights cases in which

the defendant’s intent to discriminate is at issue.”); see also Doe v. Mattis, 322 F. Supp. 3d 92,

101 (D.D.C. 2018) (“This is not how civil litigation works. Defendants cannot prevent Plaintiffs

from obtaining the facts about a disputed issue and then expect to be granted summary judgment

. . . .”).




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       B.      Even if the Deliberative Process Privilege Could Apply to This Discovery,
               Plaintiffs Have Shown that Their Need for the Information Sought
               Outweighs Defendants’ Interest in Preventing Disclosure.

       Plaintiffs’ interests in favor of disclosure strongly outweigh any interest served by the

deliberative process privilege. See Texaco P.R., 60 F.3d at 885. Courts have weighed these

considerations by applying the five factors set forth in In re Franklin. See supra at 15-16.

“Applying these factors, courts have found that the deliberative process privilege must, at times,

yield to the public interest in opening for scrutiny the government’s decision-making process.”

ACORN v. County of Nassau, No. CV 05-2301 (JFB) (WDW), 2008 U.S. Dist. LEXIS 20266, at

*11 (E.D.N.Y. Mar. 14, 2008). Indeed, one court addressing deliberative process privilege

assertions arising out of similar TPS claims has held precisely that:

               Plaintiffs allege that Defendants provided one reason for
               rescinding TPS for the four countries but in fact relied upon other
               invalid reasons for their decision. Given this allegation, the
               materials Plaintiffs seek are relevant to the litigation. Second,
               Plaintiffs cannot obtain this evidence from any other source. By
               definition, only Defendants have information about their
               decisionmaking.

Ramos Order at 8.

       Similarly, here, Plaintiffs have already established two of the five Franklin factors—first,

the material sought in Plaintiffs’ Discovery Requests is directly relevant; see supra Part II.A,B;

and, second, Plaintiffs cannot obtain the information elsewhere, see supra Part II.C. The third

and fourth factors cut the same direction. Courts have recognized the serious constitutional and

civil rights issues implicated by the present litigation, namely, the constitutional rights of people

who reside in the U.S. and the danger that they may be erroneously deported, which could be

irreversible. See supra at 9-10; Ramos Order at 8. Additionally, “the government is a defendant

in this litigation, and this factor weighs against applying the privilege here.” Ramos Order at 7.



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       Thus, only one of the Franklin factors could possibly weigh against disclosure: that

future frank discussion by government employees could potentially be chilled by disclosure. This

one factor does not outweigh the other four in these circumstances, because, as the court in

Ramos noted, the fifth factor “is a concern in every case.” Id.; see also Texaco P.R., 60 F.3d at

885 (denying privilege because plaintiff’s “interest in due process and fairness outweighed

[defendant’s] interest in shielding its deliberations from public view”); Zhen Shou Wu, 2010 U.S.

Dist. LEXIS 18405 at *9 (“After balancing the interests, the interest of the government in frank

inter-agency and intra-agency discussion against the particularized needs of the defendants to

defend themselves against serious charges, I find this information should be produced.”). Here,

as in Ramos, Defendants have not cited any evidence that the disclosure of these documents

would tend to stifle frank discussion of lawful considerations within the executive branch. Ramos

Order at 7. Therefore, the interests in this case weigh strongly in favor of disclosure.

IV.    DEFENDANTS HAVE FAILED TO DEMONSTRATE THAT THE DISCOVERY
       REQUESTS CREATE AN UNDUE BURDEN

       Plaintiffs have advanced targeted requests that seek information regarding President

Trump and the White House’s participation in and policies concerning the TPS decisionmaking

process. Sun Oil, 514 F.2d at 1025 (“[Plaintiffs] are entitled to try to show this, and a generalized

claim of privilege . . . cannot prevail against the plaintiffs’ need to develop the facts by resort to

discovery.”). Defendants responded with a generalized objection that these requests are unduly

burdensome and would distract from executive responsibilities. O’Keefe Decl., Ex. 5 at 3;

O’Keefe Decl., Ex. 3 at 3 (citing Cheney, 542 U.S. at 385).

       This rote assertion of burden is not sufficient. As discussed supra at 9 n.5, Cheney does

not stand for the proposition that any discovery directed towards President Trump or the White

House is categorically overbroad and unduly burdensome. The Office of the President is afforded


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respect during, not immunity from, judicial process. See Clinton, 520 U.S. at 705 (1997) (“[T]he

Judiciary may severely burden the Executive Branch by reviewing the legality of the President’s

official conduct, and it may direct appropriate process to the President himself . . . .”) (internal

citations omitted). Further, to the extent that Defendants assert that the Discovery Requests

impose undue burden because President Trump is not a proper party, the issue has already been

presented to the Court and denied. Mem. & Order 41, ECF 47. Indeed, categorically excluding

President Trump from discovery is contrary to the Court’s instruction to develop a record to

determine the appropriate relief if Plaintiffs prevail on their claims. See id.

       Plaintiffs have repeatedly indicated their willingness to cooperate with Defendants to

avoid undue burden with respect to the Discovery Requests. Defendants have not offered any

compromise. See, e.g., O’Keefe Decl., Ex. 4 at 3, Exs. 6, 7. Instead, Defendants categorically

refused to search for documents and failed to meet their discovery obligations. See Garcia v. E.J.

Amusements of N.H., Inc., 89 F. Supp. 3d 211, 215-16 (D. Mass. 2015) (“conclusory statements

regarding the burdens of producing a privilege log” will not support an undue burden objection).

                        CONCLUSION AND REQUEST FOR RELIEF

       Defendants have made no effort to comply with the Discovery Requests directed to

President Trump. Plaintiffs request that the Court compel Defendants to respond within fourteen

days of the resolution of this Motion by (i) producing the requested non-privileged discovery and

designating a Rule 30(b)(6) deponent, and (ii) providing a specific log of allegedly privileged

documents that are withheld, see Sealed Case, 121 F.3d at 745, and objections to the Rule

30(b)(6) deposition topics, if any. If and when Defendants log their privilege claims, Plaintiffs

will seek guidance from the Court with respect to expedited review and evaluation of those

privilege claims, in light of the current deadlines in the Scheduling Order.



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Respectfully submitted,

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Dated: March 8, 2019




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